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 1       Q     It was after you signed the check?
 2       A     Yes.
 3       Q     But there was no discussion beforehand?
 4       A     No, there was no discussion with anyone before I
 5   signed that check.
 6                    MR. EHRLICH:     I have no further questions.
 7                    THE COURT:     Any redirect?
 8                    MS. BRAUDY:     No, Your Honor.
 9                    THE COURT:     Okay.    You can have a seat with
10       your attorneys.       Um, would you like to call your next
11       witness?
12                    MS. BRAUDY:     Yes.    I would like to call—
13                    MR. SOLEIMANI:       Can we have just a minute?
14       Can   we just talk outside?
15                    MS. BRAUDY:     Yeah.
16                    THE COURT:     Sure.    Um, I-I have a thing I
17       got to do.
18   [BREAK]
19                    THE COURT:     Recalling ABJ against Howell.
20       Did you want to call another witness?
21                    MS. BRAUDY:     Yes.    I would like to call, um,
22       Mr. Soleimani.
23                    THE COURT:     The gentleman who’s here?
24                    MS. BRAUDY:     Yes.    I believe that’s his name.
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 1                     THE COURT:    Alright.       Sir, you’re being
 2       called as a- . . . no, no, no, Mr. Howell, you’re-
 3       you’re back with your attorneys.             Uh, Sir, I’m going
 4       to ask you to come up here to the witness stand, and
 5       before you sit down I’m going to ask you to please
 6       raise your right hand.            Do you swear or affirm that
 7       the testimony you give shall be the truth under
 8       penalty of perjury?
 9                     MR. SOLEIMANI:       Yes.
10                     THE COURT:    Please have a seat.       Can you
11       spell your name for me, please?
12                     MR. SOLEIMANI:       Sure.    First name, J-o-s-e-p-
13       h.     Last name, S-o-l-e-i-m-a-n-i.
14                     THE COURT:    And, uh, can you give me a
15       business address, please?
16                     MR. SOLEIMANI:       1652 Park Avenue, Suite LL,
17       New York, New York, 10035.
18                     THE COURT:    Ms. Braudy, please feel free to
19       inquire.
20                     MS. BRAUDY:    Okay.
21   DIRECT-EXAMINATION BY MS. BRAUDY:
22       Q      So, you’re the managing agent for the petitioner?
23       A      Yes.
24       Q      And how long have you worked with them?
25
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 1       A     Um, since 2016.
 2       Q     2016?
 3       A     I believe, 15 or 16.
 4       Q     Okay.    Were you the managing agent in December of
 5   2016?
 6       A     Yes.
 7       Q     And what type of, um . . . what’s your highest
 8   level of education?
 9       A     Bachelor’s Degree.
10                    THE COURT:    I’m sorry?
11       A     Bachelor’s.
12       Q     In what area?
13       A     Uh, economics.
14       Q     So, would you say you have business training?
15       A     Somewhat.
16       Q     Experience in business?
17       A     Okay.
18       Q     I was asking.
19       A     Yes.
20       Q     Have you negotiated buy-outs before?
21       A     Yes.
22       Q     How many?
23       A     Not sure.
24       Q     More than five?
25
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 1       A      Yes.
 2       Q      More than 10?
 3       A      I don’t recall. I’m not sure.
 4       Q      But you’re sure of more than five.
 5       A      I’m sorry?
 6       Q      You’re sure of more than five?
 7       A      Yes.
 8       Q      So, your client bought this building just two
 9   years ago, right?     In 2016?
10       A      Yes.
11       Q      And do you know how many buildings the petitioner
12   owns altogether in the city?
13       A      Six.
14       Q      Six?
15                     MR. HOWELL:    We’re talking about sixty.
16                     MS. BRAUDY:    All right, Mr. Howell.
17                     MR. HOWELL:    Mm-hmm.
18       Q      So, are you aware that Mr. Howell is a senior
19   citizen?
20       A      Yes.
21       Q      Does it surprise you to know that his, um, source
22   of income is Social Security Disability?
23       A      No.
24

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 1       Q      Did you know Mr. Howell is a-is a recipient of
 2   Section 8?
 3       A      Yes.
 4       Q      Uh, Mr. Howell has a lease in this apartment,
 5   right?
 6       A      Yes.
 7       Q      And the lease, which was introduced before . . .
 8   do you know how much the apartment rent is total?
 9       A      No.
10       Q      Do you wanna take a look at the lease?
11                     THE COURT:   Sure.
12       Q      It’s, uh, Exhibit 1.
13                     THE COURT:   Sure, I’m showing Exhibit 1 to
14       the witness.
15       A      Uh, $659.79.
16       Q      And is this a rent stabilized apartment?
17       A      Yes.
18       Q      And the renewal lease, do you know when this term
19   started?
20       A      Uh, October 15 th of 16.
21       Q      So, when the December 2016 agreement was signed,
22   was Mr. Howell still within his lease term?
23       A      Yes.
24

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 1       Q     And when the March 2017 time elapsed that he was
 2   supposed to vacate, was he still within his lease term?
 3       A     Yes.
 4       Q     And so around May 2017 in this case, you served—
 5                    THE COURT:     Does he-does he still need that?
 6                    MS. BRAUDY:     Oh, no.    I’m sorry.     That’s it.
 7       Q     And in this case around May 2017 you directed your
 8   attorney to serve notice to quit?
 9       A     Yes.
10       Q     Is that the only notice that you served?
11       A     I believe so.
12       Q     Did you ever direct your attorney to serve a
13   notice of termination?
14       A     I don’t recall.
15       Q     Did you direct your attorney to then, after that,
16   sen-serve a petition on Mr. Howell?          A petition and notice
17   of petition, commencing this case?
18       A     If they had required it, yes.
19       Q     And that petition incorporated the notice to quit,
20   made reference to it?
21       A     I don’t recall.
22                    MR. EHRLICH:     Your Honor, the documents
23       speak-speak to itself.
24

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 1                      THE COURT:    Yeah, I’m going to ask what
 2       additional probative value is there to this gentleman
 3       testifying anything I can just take judicial notice
 4       of?
 5                      MS. BRAUDY:    Alright, and so, I wanted to
 6       show this, uh, witness the-the exhibit number 2, the
 7       surrender agreement.
 8                      THE COURT:    Sure, I’ll show 2 in evidence to
 9       the witness.
10       Q       So, under Mr. Howell’s signature on the second
11   page, he’s listed as a tenant, right?
12       A       Yes.
13       Q       And then the first line of the agreement it says
14   it’s an agreement between the landlord and the tenant?
15       A       Correct.
16       Q       And every single paragraph lists Mr. Howell as a
17   tenant, right?
18       A       Correct.
19       Q       And then paragraph four, it states that if he
20   doesn’t vacate by a time certain in March, the consequences
21   that the tenant shall be subject to eviction proceedings?
22       A       Yes.
23       Q       Okay.    Thank you.    No further questions for that
24   document.    Who drafted-who drafted the buy-out agreement?
25
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 1       A       Uh, it’s an agreement we’ve used and just changed
 2   the name around and (inaudible).
 3       Q       So, who originally drafted it?
 4       A       It was drafted by an attorney.
 5                   THE COURT:     I’m sorry?
 6                   MR. SOLEIMANI:        An attorney.
 7                   THE COURT:     An attorney?
 8                   MR. SOLEIMANI:        Yes.
 9                   MS. BRAUDY:      So, what’s that?      Yeah . . . can
10       I, um, I’m sorry.       I would like to show this witness
11       number 2, exhibit number 2 one more time.
12                   THE COURT:     No problem.
13       Q       On the second page, um, can you tell me who signed
14   on the second page?
15       A       Um, Mr. Howell signed, um, I signed, as a notary,
16   and it was signed by Benjamin Soleimani on behalf of the
17   landlord.
18                   MR. HOWELL: (Inaudible).
19       Q       Okay, so—
20                   MR. EHRLICH:      Your Honor?
21                   THE COURT:     Yeah, sir, what you’re saying
22       right now is not evidence.
23                   MR. HOWELL:      All right.
24                   THE COURT:     So, we’ll just leave it at
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 1       that.
 2       Q       Do you know when, um, Benjamin Soleimani signed?
 3       A       December 23 rd .
 4       Q       And were-where were you when you signed this
 5   document?
 6       A       I was in Mr. Howell’s apartment.
 7       Q       Did you see him sign this document?
 8       A       Yes, I did.
 9       Q       You did?
10       A       Yes.
11                      MS. BRAUDY:   Okay.   So, um, actually he’s
12       gonna need that for the next part.            I’m sorry.
13       Q       So, in the provision in-in paragraph 10, part of
14   it states that if-if Mr. Howell defaults to a certain
15   provision, that the Petitioner is able to, uh, seek legal
16   fees, right?
17       A       Yes.
18       Q       Does anywhere in this agreement, um, have a
19   provision where Mr. Howell can seek attorney’s fees upon
20   the default?
21       A       I don’t see anything.
22       Q       And in paragraph three it states that the
23   agreement terms are irrevocable and unconditional, right?
24       A       Correct.
25
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 1       Q       So, there’s no provision made in here should Mr.
 2   Howell need a little bit more time if he needed a few more
 3   weeks to move?
 4       A       No.
 5       Q       And in paragraph four, Mr. Howell gives up his
 6   security deposit?
 7       A       Correct.
 8       Q       And in paragraph eight he withdraws any claim,
 9   complaint with prejudice that he might’ve had against the
10   agencies?
11                     MR. EHRLICH:     Your Honor, the document speaks
12       for itself.
13                     THE COURT:     I really don’t understand why
14       this witness has to testify what’s in the document
15       that’s already in evidence.
16                     MS. BRAUDY:     Okay, that’s fair.
17                     THE COURT:     I mean, maybe different courts
18       have different procedures.            The record’s made.
19                     MS. BRAUDY:     The record’s made, okay.
20                     THE COURT:     There’s no additional probative
21       value to having somebody read what I can already read.
22                     MS. BRAUDY:     Okay.    So, then I will be done
23       with that.
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 1       Q     Alright, let me ask you one more question, um,
 2   should Mr. Howell move out of this apartment, what do you
 3   anticipate doing with the apartment?
 4       A     Renovating the apartment.
 5       Q     And the market rate for a renovated apartment on
 6   Mr. Howell’s side, what do you think you can get for this
 7   apartment?
 8       A     Probably around $1,900, $2,000.
 9       Q     Thank you.     No further questions.
10                    THE COURT:     Alright.   You can hand that back
11       to me.    Any cross?
12                    MR. EHRICH:     Yes.
13   CROSS-EXAMINATION BY MR. EHRLICH:
14       Q     Um, Mr. Soleimani, so, um, you were there.            You
15   were in the apartment.        Correct?
16       A     Yes.
17       Q     Okay, and you had heard Mr. Howell testify that no
18   one else was there, but you were there.           Correct?
19       A     Correct.
20       Q     Okay, and, um, did you . . . there was money that
21   was tendered to Mr. Howell?
22       A     Yes.
23       Q     And that money was cash?
24       A     It was a check.
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 1       Q     It was a check.       Check was cashed?
 2       A     Yes.
 3       Q     Okay, and did you attempt to find, uh, other
 4   housing for Mr. Howell?
 5       A     Yes.
 6       Q     And where was that building?
 7       A     It was on Park Avenue and 117 th Street.
 8       Q     And where is the specific premise that we’re
 9   talking about?
10       A     122 nd and 7 th .
11       Q     Okay.    And the building that you showed him, was
12   there an elevator in it?
13       A     Yes.
14       Q     And is there laundry facilities?
15       A     Yes.
16       Q     And how old is that building?
17       A     About 12 or 13 years.
18       Q     Okay, and what type of building is that?
19       A     It’s, um, low income housing.
20                    MS. BRAUDY:    Your Honor, objection.          This is
21       outside the scope of our direct.
22                    MS. EHRLICH:    They opened-they opened the can
23       of worms, Judge, when they asked about the rent of the
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 1       unit.     They’re trying to make my client out to be the
 2       bad guy, they opened up the can of worms.
 3                     MS. BRAUDY:     But we did not speak to this at
 4       all.
 5                     THE COURT:     You’ll have a chance to redirect,
 6       and I think the concept of scope is . . . cause I
 7       understand the purpose for which you wanted to have,
 8       uh, this witness testify, and it seems to me that for
 9       that purpose this testimony is within the scope of
10       that, and you’ll have a chance to redirect in a
11       moment.       So, overruled.
12       Q      Um, Mr. Soleimani, was Mr. Howell . . . during the
13   context of the negotiations and the execution of the
14   agreement, was Mr. Howell advised to speak to counsel?
15       A      Yes.
16       Q      Okay.    Did you advise him to speak to counsel?
17       A      Yes.
18       Q      And did you advise him when you were in the
19   apartment that day to speak to counsel?
20       A      Yes.
21                     MR. EHRLICH:     Okay.   Um, I have nothing else.
22                     THE COURT:     Alright, uh, redirect?
23   RE-DIRECT BY MS. BRAUDY:
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 1       Q     Do you know how long the conversations around this
 2   agreement took place before December 23 rd ?         How long the
 3   weeks-how many weeks went by?
 4       A     I’m not sure how much time.
 5       Q     At any time prior to December 23 rd , did you tell
 6   Mr. Howell that he should speak to an attorney?
 7       A     Yes.
 8       Q     Prior to December 23 rd ?
 9       A     Yes.
10                    MS. BRAUDY:    Okay.    Um, no further questions,
11       Your Honor.
12                    THE COURT:    Alright, you can have a seat.        Do
13       you have any other witnesses?
14   [TESTIMONY CONCLUDES]
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